                              Case3:06-cr-00266-CRB
                             Case  3:06-cr-00266-CRB Document
                                                      Document77
                                                               78 Filed
                                                                   Filed08/08/2006
                                                                         08/09/06 Page
                                                                                   Page11ofof11



                            1

                            2                         UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF CALIFORNIA
                            3                            SAN FRANCISCO DIVISION

                            4

                            5    UNITED STATES OF AMERICA,

                            6              Plaintiff,              CR 06-0266

                            7         v.                           STIPULATION AND ORDER FOR
                                                                   MODIFICATION OF PRETRIAL
                            8    ELIZABETH EVANS,                  CONDITIONS

                            9              Defendant.
                                                             /
                          10

                          11          THE PARTIES HEREBY STIPULATE AND AGREE to Pretrial

                          12     Services’ Request for Modification of Elizabeth Evan’s Pretrial

                          13     Release Conditions.

                          14          On April 27, 2006, the parties agreed that Ms. Evans would

                          15     be released on a $250,000 property bond and that she would be

                          16     subject to the recommended pretrial release conditions.

                          17     Pretrial Services is now recommending that Ms. Evan’s bond

                          18     conditions be modified to include drug testing.               Ms. Evans

                          19     voluntarily agrees to this modification of her pretrial release

                          20     conditions.

                          21          Dated:   August 8, 2006

                          22     /s/ DAVID HALL                           /s/ MICHELLE NERO
                                 DAVID HALL                              MICHELLE NERO
                          23     Assistant U.S. Attorney                 Pretrial Services Officer

                          24                                              /s/ RANDOLPH E. DAAR
                                                                                  ISTDAAR
                                                                         RANDOLPHDE.
                                                                                S for RIC
                          25                                                 T E
                                                                         Attorney        T
                                                                                      Elizabeth Evans
                                                                                                    C
                                      IT IS SO ORDERED.                      TA
                                                                                                       O
                                                                         S




                          26
                                                                                                        U
                                                                        ED




                                      Dated:   8/9/06
                                                                                                         RT




                                                                                             D
                                                                                       RDERE
                                                                    UNIT




                          27
                                                                                 S O O
P IE R 5 L A W O F F IC E S
    506 B R O A DW A Y                                                     IT IS LARSEN, Mag. Judge
                                                                         JAMES
                                                                                                         R NIA




    SAN FR AN C ISC O       28                                           United States District Court
      (415) 986-5591
   FAX : (415) 421-1331

                                                                                                 son
                                                                                          mes Lar
                                                                    NO




                                                                                  Judge Ja
                                                                                                        FO
                                                                     RT




                                                                                                        LI
                                                                        H
